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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                                   No. 15-68

JORGE PERRALTA, ET AL.                                                                SECTION I


 COURT’S FINDINGS OF LAW REGARDING DEFENDANT, JORGE PERRALTA’S,

               MOTION TO SUPPRESS EYEWITNESS IDENTIFICATIONS

  I.     Fifth Amendment Motion to Suppress Eyewitness Identifications

         The U.S. Supreme Court has recognized that the Due Process Clause of the Fifth

Amendment guarantees a defendant’s right to exclude, as unreliable, identification testimony that

results from improper employment of photographs by police. See Perry v. New Hampshire, 132

S. Ct. 716, 725–26 (2012); Simmons v. United States, 390 U.S. 377, 383–84 (1968). “A conviction

based on an eyewitness identification at trial following a pretrial photographic identification must

be set aside only if the photographic identification procedure was so impermissibly suggestive as

to give rise to a very substantial likelihood of irreparable misidentification.” United States v.

Honer, 225 F.3d 549, 552 (5th Cir. 2000) (internal quotation and citation omitted).

          “[Courts] apply a two-prong test to determine whether to exclude an in-court

identification.” Honer, 225 F.3d at 552. “First, [courts] ask whether the photographic line-up is

impermissibly suggestive.” Id. “If it was not, [the court’s] inquiry ends.” Id. “If the photographic

line-up was impermissibly suggestive, [courts] next ask whether based upon the totality of the

circumstances, ‘the display posed a very substantial likelihood of irreparable misidentification.’”

Id. at 552–53 (citing Manson v. Brathwaite, 432 U.S. 98, 114 (1977)).



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       The question of whether identification evidence and the fruits of the identification are

admissible at trial is a mixed question of law and fact. Fletcher, 121 F.3d at 194 (citing United

States v. Sanchez, 988 F.3d 1384, 1389 (5th Cir. 1993)). Although such mixed questions are

subject to de novo review, a district court’s factual findings are reviewed for clear error. Id. (citing

Buser by Buser v. Corpus Christi Indep. Sch., 51 F.3d 490, 492 (5th Cir. 1995); United States v.

Diecidue, 603 F.2d 535, 565 (5th Cir. 1979)). Specifically, the Fifth Circuit “give[s] credence to

the credibility choices and findings of fact of the district court unless clearly erroneous.” United

States v. Shaw, 894 F.2d 689, 691 (5th Cir. 1990).

       According to the Fifth Circuit, the key premise of the Supreme Court’s decision in

Brathwaite is that “[a] primary aim of excluding identification evidence obtained under

unnecessarily suggestive circumstances . . . is to deter law enforcement use of improper lineups,

showups, and photo arrays in the first place.” Id. (citing Brathwaite, 432 U.S. at 114). The

Supreme Court therefore held that “due process concerns arise only when law enforcement officers

use an identification procedure that is both suggestive and unnecessary.” Id. at 724 (citations

omitted). Moreover, even when the police use such a procedure, “suppression of the resulting

identification is not the inevitable consequence.” Id. (citations omitted). Instead, courts must

assess, “on a case-by-case basis, whether improper police conduct created a substantial likelihood

of misidentification,” and the “[r]eliability of the eyewitness identification is the linchpin of that

evaluation.” Id. (internal quotations and citations omitted).

        “[T]he practice of showing suspects singly to persons for the purpose of identification, and

not as part of a lineup, has been widely condemned.” United States v. Delgado, 364 F. App’x 876,

879 (5th Cir. 2010); see also United States v. del Carmen Rangel-Carbajal, 81 F. App’x 818, 819

(5th Cir. 2003) (“Although the single photograph display was impermissibly suggestive, an

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examination of the totality of the circumstances reveals that the suggestiveness did not lead to ‘a

substantial likelihood of irreparable misidentification.’”) (citations omitted).

         However, the Supreme Court has held that showing a witness one photograph instead of

an array is not necessarily improper police procedure.         In Brathwaite, the Court held that

“[a]lthough identifications arising from single-photograph displays may be viewed in general with

suspicion, see Simmons v. United States, 390 U.S., at 383, we find in the instant case little pressure

on the witness to acquiesce in the suggestion that such a display entails.” Brathwaite, 432 U.S. at

114. The facts that led the Supreme Court to this conclusion in Brathwaite were as follows:

             D’Onofrio had left the photograph at Glover’s office and was not present when
         Glover first viewed it two days after the event. There thus was little urgency and
         Glover could view the photograph at his leisure. And since Glover examined the
         photograph alone, there was no coercive pressure to make an identification arising
         from the presence of another. The identification was made in circumstances
         allowing care and reflection.
   Id.

         It should nevertheless be noted that the Fifth Circuit has described the Brathwaite decision

as follows: “The Supreme Court, in Manson v. Brathwaite, made clear that exhibiting a single

photograph for identification purposes is impermissibly suggestive.” United States v. Sanchez,

988 F.2d 1384, 1389 (5th Cir. 1993). More recently, however, in United States v. Hefferon, 314

F.3d 211 (5th Cir. 2002), the Fifth Circuit explained that identifications in which a witness is

shown only one person may not be unduly suggestive if the suspect is already known to the witness

identifying him.

         As the Supreme Court made clear in Perry v. United States, “[t]he due process check for

reliability, [Manson v. Brathwaite, 432 U.S. 98, 114, (1977)] made plain, comes into play only

after the defendant establishes improper police conduct.” Id. at 726. If the Court concludes that


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the out-of-court identification was impermissibly suggestive, the Court must “next determine[,

under the second prong,] whether under the totality of the circumstances, the pretrial photo line-

up was so impermissibly suggestive as to give rise to a very substantial likelihood of irreparable

misidentification.” Honer, 225 F.3d at 553. “In other words, we must determine whether the in-

court identification is reliable, notwithstanding the impermissibly suggestive pretrial photo line-

up.” Id. This determination is made by considering a number of factors set forth by the Supreme

Court. As the Fifth Circuit has explained:

              In the landmark case of Neil v. Biggers, 409 U.S. 188, 199 (1972), the
       [Supreme] Court set forth factors to determine whether under the totality of the
       circumstances, an in-court identification was reliable. These factors include:
       [1] the opportunity of the witness to view the criminal at the time of the crime;
               [2] the witness’ degree of attention;
               [3] the accuracy of the witness’ prior description of the criminal;
               [4] the level of certainty demonstrated by the witness at the confrontation;
               and
               [5] the length of time between the crime and the confrontation.

Id. at 553 (citing Biggers, 409 U.S. at 199). If after evaluating the reliability of the identification

based upon the “totality of the circumstances,” a Court finds that the “‘indicators of a witness’

ability to make an accurate identification’ are ‘outweighed by the corrupting effect’ of law

enforcement suggestion, [then] the identification should be suppressed.’” Perry, 132 S. Ct. at 725

(quoting Brathwaite, 432 U.S. at 114).

       The Court notes that the Fifth Circuit has stated that “[a] witness’ identification may be

independent of an impermissibly suggestive technique even if his original observation was but a

fleeting glimpse.” United States v. Gidley, 527 F.2d 1345, 1351 (5th Cir. 1976).




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         If the Court determines that the witness’ identification is reliable after considering the

totality of the circumstances, then both the out-of-court identification and the in-court

identification are admissible. In Allen v. Estelle, the Fifth Circuit explained:

         Under the totality approach the admissibility of pretrial and in-court identification
         alike are governed by a single due process standard which accepts the reliability of
         the identification as the principal ingredient to be evaluated. Therefore, under the
         totality approach a determination that the challenged identification is reliable means
         that testimony as to it and any identification in its wake is admissible.


568 F.2d 1108, 1114 (5th Cir. 1978); see also United States v. Saunders, No. 12-141, 2013 WL

2903082, at *16 (E.D. La. June 12, 2013) (Brown, J.) (permitting an in-court identification and an

out-of-court identification to come into evidence where the out-of-court procedure was

unnecessarily and impermissibly suggestive but the identification was nonetheless reliable).

 II.     Motion to Suppress Out-of-Court Identification and the Sixth Amendment

         The Court and counsel also discussed potential Sixth Amendment issues raised by

defendant’s motion. As the Court informed the parties off-the-record, however, it is clear that the

Sixth Amendment is not implicated under these circumstances.

         The Supreme Court has long recognized that the right to counsel is among the most

fundamental rights of the criminal justice system. “Of all the rights that an accused person has,

the right to be represented by counsel is by far the most pervasive, for it affects his ability to assert

any other right he may have.” Penson v. Ohio, 488 U.S. 75, 84 (1988). The Supreme Court has

held that “a person’s Sixth and Fourteenth Amendment right to counsel attaches only at or after

the time that adversary judicial proceedings have been initiated against him.” Kirby v. Illinois,

406 U.S. 682, 688 (1972); Livingston v. Hargett, 9 F.3d 1547, 1993 WL 503448, at *2 (5th Cir.

Nov. 24, 1993). The right to counsel attaches specifically at the time of arraignment or the


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preliminary hearing. Kirby, 406 U.S. at 688–89; Powell v. Alabama, 287 U.S. 45, 66–71 (1932)

(right to counsel attaches at time of arraignment on formal charges).

       From that point, “the Sixth Amendment guarantees a defendant the right to have counsel

present at all critical stages of the criminal proceedings.” Leachman v. Stephens, 581 F. App’x

390, 399 (5th Cir. 2014) (citing Montejo v. Louisiana, 556 U.S. 778, 786 (2009)). “For Sixth

Amendment purposes, the attachment of the right to counsel (at the initiation of the adversary

process) is distinct from the right to have counsel present (at a critical stage).” Id. “It is ‘an

analytical mistake’ to ‘assume that attachment necessarily requires the occurrence or imminence

of a critical stage.’” Id. (citing Rothgery v. Gillespie Cty., Tex., 554 U.S. 191, 212 (2008)).

       “The Supreme Court has articulated that a critical stage in the proceeding is one where ‘the

accused required aid in coping with legal problems or assistance in meeting his adversary,’ and

the ‘substantial rights of the accused may be affected.’” McAfee v. Thaler, 630 F.3d 383, 391 (5th

Cir. 2011) (citing United States v. Ash, 413 U.S. 300, 311 (1973)).

       In United States v. Ash, however, the Supreme Court held that that “the Sixth Amendment

does not grant the right to counsel at photographic displays conducted by the Government for the

purpose of allowing a witness to attempt an identification of the offender,” even after the

defendant’s right to counsel has attached. 413 U.S. 300, 321 (1973). The Fifth Circuit has further

clarified that the government is not required even to notify defense counsel before showing

witnesses a photographic lineup containing the defendant. United States v. Whitehead, 257 F.

App’x 777, 783 (5th Cir. 2007).

       New Orleans, Louisiana, January 27, 2016.

                                                  _______________________________________
                                                            LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE



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